Case 5:20-cv-01432-GW-SHK Document 19 Filed 01/26/21 Page 1 of 1 Page ID #:55



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    8                        UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
   10

   11    JAMES RUTHERFORD,                       Case No. EDCV 20-1432-GW-SHKx

   12                       Plaintiff,

   13          v.                                  ORDER TO DISMISS WITH
                                                   PREJUDICE
   14    FRANKLIN REAL ESTATE L.P.,
         et al.,
   15
                            Defendants.
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              Based upon the stipulation between the parties and their respective counsel,
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        it is hereby ORDERED that this action is dismissed with prejudice in its entirety.
   20
        Each party will bear its own attorneys’ fees and expenses.
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              IT IS SO ORDERED.
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   23
        Dated: January 26, 2021
   24
                                              _________________________________
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                                              HON. GEORGE H. WU,
   26                                         UNITED STATES DISTRICT JUDGE
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